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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE, )
on behalf of itself, its member organizations, their )
members, and these members’ patients;                 )
AMERICAN ASSOCIATION OF PRO-LIFE )                         Case No. 2:22-cv-00223-z
OBSTETRICIANS AND GYNECOLOGISTS, )
on behalf of itself, its members, and their patients; )
AMERICAN COLLEGE OF PEDIATRICIANS,)
on behalf of itself, its members, and their patients; )
CHRISTIAN MEDICAL & DENTAL                            )
ASSOCIATIONS, on behalf of itself, its members )
and their patients; SHAUN JESTER, D.O., on            )
behalf of himself and his patients; REGINA            )
FROST-CLARK, M.D., on behalf of herself and )
her patients; TYLER JOHNSON, D.O., on                 )
behalf of himself and his patients; and GEORGE )
DELGADO, M.D., on behalf of himself and his           )
Patients,

                               Plaintiffs,

v.

U.S. FOOD AND DRUG ADMINISTRATION; )
ROBERT M. CALIFF, M.D., in his official                )
capacity as Commissioner of Food and Drugs, U.S. )
Food and Drug Administration; JANET                    )
WOODCOCK, M.D., in her official capacity as )
Principal Deputy Commissioner, U.S. Food and           )
Drug Administration; PATRIZIA CAVAZZONI, )
M.D., in her official capacity as Director, Center for )
Drug Evaluation and Research, U.S. Food and Drug )
Administration; U.S. DEPARTMENT OF                     )
HEALTH AND HUMAN SERVICES; and                         )
XAVIER BECERRA, in his official capacity as )
Secretary, U.S. Department of Health and Human )
Services,                                              )

                               Defendants.


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                      AMICUS BRIEF ON BEHALF OF THE
              CHATTANOOGA NATIONAL MEMORIAL FOR THE UNBORN

        Now comes the Chattanooga National Memorial for the Unborn (“NMU”) and files this

Amicus Brief in support of Plaintiffs’ Complaint (Doc. 1) and Plaintiffs’ Motion for Preliminary

Injunction (Doc. 6). The NMU is a Tennessee nonprofit corporation located in Chattanooga,

Tennessee which is dedicated to healing pain associated with the loss of aborted children and

providing education and information about the abortion process and its consequences.

        As detailed below, undersigned counsel’s law firm1 also represented the Estate of Brenda

Vise with respect to the claim outlined below, all of which is directly relevant to the issues in this

pending case relating to protocols relating to Mifeprex.

        The Volunteer Women’s Medical Clinic, LLC (“Clinic”) was located in Knoxville,

Tennessee and actively solicited patients for abortion services including chemical abortions.

        Brenda C. Vise was born on June 24, 1963 and was 38 years of age when she learned that

she was pregnant in September, 2001. In reliance upon marketing materials provided by the Clinic,

Ms. Vise made an appointment with the Clinic for Friday, September 7, 2001.

        While at the clinic on September 7, 2001, Ms. Vise was administered a pregnancy test

which confirmed her pregnancy and was also given an ultrasound examination. Ms. Vise was

advised that the ultrasound showed no fetus in the uterus. Clinic personal explained that this was

because the fetus was “too small to be seen.” It was estimated that Ms. Vise was approximately 6

weeks pregnant. By such point in her pregnancy, a fetus in the uterus would have been easily seen

with a proper ultrasound examination.




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  Attorneys Hoyt O. Samples and Michael S. Jennings represented the Estate of Brenda Vise. Hoyt. O. Samples
retired from the practice of law at the end of 2022.

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        The Clinic then advised Ms. Vise to have a chemical abortion which would avoid a surgical

abortion procedure. Ms. Vise was advised that two different medications were required to

complete a chemical abortion. While at the Clinic on or about September 7, 2001, Clinic personnel

described Mifeprex to Ms. Vise. Mifeprex is also known as RU-486 and is commonly referred to

as the “abortion pill.”

        At that time, Mifeprex was not to be administered if it had been more than 49 days since a

woman’s last menstrual period began. Mifeprex was also not to be administered if there was a

suspicion that the pregnancy was outside the uterus. Such condition is commonly referred to as

an ectopic or tubal pregnancy.

        Anywhere from one-half to one percent of all pregnancies are ectopic and an untreated

ectopic pregnancy is usually fatal. It is therefore extremely important to determine if an ectopic

pregnancy is present. If so, immediate action needs to be taken and in no event should Mifeprex

be administered.

        Ms. Vise was advised by the Clinic that the side effects of Mifeprex were mild and short-

lived. Mifeprex operates by blocking a hormone needed for a woman’s pregnancy to continue.

        Mifeprex can, in and of itself, cause an abortion, but normally it is required that a second

drug be administered approximately 48 hours after the administration of Mifeprex.

        Prior to administering the second chemical, a patient should be checked to see if she is still

pregnant. If so, then two additional tablets were to be administered at that time. If the woman was

not pregnant, no additional medication was to be given.

        The Clinic instructed Ms. Vise to take the second medication at her home with no follow

up examination to determine if she was still pregnant after taking the first medication.




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       Contrary to information disseminated by the Clinic, nearly all women who receive

Mifeprex will report adverse reactions.

       Mifeprex should only be administered by or under the supervision of a physician who is

able to assess the duration of the pregnancy accurately and who is able to diagnose ectopic

pregnancies. Such physician should also have the ability to provide surgical intervention in cases

of incomplete abortion or severe bleeding or have plans to provide such care through other

qualified physicians.

       Because Mifeprex in and of itself does not regularly result in a chemical abortion, the Clinic

then required Ms. Vise to take a second drug known as Cytotec.

       Cytotec was originally developed by G.D. Searle & Co. to prevent gastric ulcers in people

who take anti-inflammatory drugs for conditions such as arthritis. The drug was approved by the

FDA solely for such use in 1988. At the time that Ms. Vise received her treatment, the federal

government had never approved Cytotec for use in pregnant women and specifically had not

approved it for use in pregnant women for the use of inducing an abortion and in fact, had warned

against such use.

       The manufacturer of Cytotec in August, 2000, specifically issued a letter to healthcare

providers that Cytotec was contraindicated in women who are pregnant and that Cytotec was not

approved for the induction of labor or abortion and should not be used in an abortion.

       After receiving the Mifeprex in Knoxville, Ms. Vise returned to her home where she began

experiencing significant and continuing problems. The Clinic was contacted and Ms. Vise was

advised that all of her symptoms were “normal and routine.” This continued even though multiple

calls were placed to the Clinic and as Ms. Vise’s symptoms worsened.




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        The Clinic had issued a directive that Ms. Vise was to take the Cytotec approximately 48

hours after the Mifeprex had been administered.

        Ms. Vise’s medical condition continued to worsen and the Clinic advised her to take

different medications for pain and for nausea. She was never referred to a physician.

        On Monday, September 10, 2001, Ms. Vise’s medical condition continued to deteriorate

and the Clinic continued to advise that all of her symptoms were “to be expected.”

        Ms. Vise was eventually transported to a hospital in Chattanooga by ambulance where

exploratory surgery would reveal that she had had an ectopic (tubal) pregnancy which had

ruptured. Such rupture led to massive infection and a collapse of her vital systems.

        Ms. Vise’s representatives later learned that the ultrasound of Ms. Vise’s uterus in

Knoxville was not even that of a uterus but was of a bladder. This was because no qualified person

was reading the ultrasounds.

        The current FDA has now removed even the minimal safeguards that required a woman to

be under a physician’s care who was capable of diagnosing and ectopic pregnancy and of requiring

that there should be an ultrasound positively showing the existence of a fetus in the uterus. The

failure to do so can result in an undiagnosed ectopic pregnancy which is invariably extremely

serious or fatal.

        Under the current regimen proposed by the FDA, there is ABSOLUTELY NO

requirement that any procedure be done to rule out an ectopic pregnancy. Because anywhere from

one-half to one percent of all pregnancies are ectopic, women will die because of this failure.

        Based on recent statistics, the pregnancy rate for women in the United States was 102.1 per

thousand women. This means of all women who are prescribed the abortion pill that roughly one

percent of them will have ectopic pregnancies. Given the FDA’s refusal to take steps to protect



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against ectopic pregnancies, this means that as many as one in one hundred pregnant women may

die who take the abortion pill.

       Such should be totally unacceptable to a civilized society.

       Plaintiffs in the underlying case have pointed out this and many other reasons why the

FDA’s current approach to the abortion bill and its regime are not only legally wrong but morally

and medically reprehensible.

       NMU therefore strongly supports Plaintiffs’ Complaint and Plaintiffs’ Motion for

Preliminary Injunction.

                                             SAMPLES, JENNINGS, CLEM & FIELDS, PLLC


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                               CERTIFICATE OF SERVICE

       I certify that this document will be served on all defendants via ECF and via first class

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       This 9th day of January, 2023

                                             SAMPLES, JENNINGS, CLEM & FIELDS, PLLC


                                             By:_/s/Darald J. Schaffer
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